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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
ALEXANDER STYLLER, INTEGRATED              )
COMMUNICATIONS & TECHNOLOGIES, INC. )
JADE CHENG, JASON YUYI, CATHY YU,          )
CAROLINE MARAFAO CHENG, PUSHUN             )
CHENG, CHANGZHEN NI, JUNGANG YU,           )
MEIXIANG CHENG, FANGSHOU YU, and           )
CHANGUA NI,                                )
                                           )
                   Plaintiffs,             )
                                           )
v.                                         )    Case No. 16-cv-10386-LTS
                                           )
HEWLETT-PACKARD FINANCIAL                  )
SERVICES COMPANY, HEWLETT-PACKARD )
FINANCIAL SERVICES (INDIA) PRIVATE         )
LIMITED, HP, INC., HEWLETT PACKARD         )
ENTERPRISE COMPANY, and DAVID GILL,        )
                                           )
                   Defendants.             )
                                           )

               ORDER ON MOTIONS TO DISMISS (DOCS. 109, 110, and 111)

                                       October 11, 2017

SOROKIN, D.J.

       On September 5, 2017 Defendant Hewlett Packard Enterprise Company (“HPE”)

answered Plaintiffs’ Second Amended Complaint and asserted a Counterclaim for

indemnification against ICT and a second Counterclaim against ICT, Alexander Styller, and the

Individual Plaintiffs/Defendants (Jade Cheng, Jason Yuyi, and Cathy Yu) for contribution. Doc.

106 at 52-53. On September 8, 2017 Defendants Hewlett-Packard Financial Services Company

(“HPFS”) and Hewlett-Packard Financial Services (India) (“HPFS (India)”) separately answered

the Second Amended Complaint and asserted parallel Counterclaims for indemnification against

ICT and for contribution against ICT, Styller, and the Individual Plaintiff/Defendants. Doc. 107

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at 51-52; Doc. 108 at 60-62. HPFS (India) asserted an additional Counterclaim for breach of

contract against ICT. Id. at 61.

       On September 22, 2017 all Plaintiffs moved to dismiss the Counterclaims by HPE, HPFS,

and HPFS (India). Docs. 109, 110, and 111. The Plaintiffs supported these three motions with

one combined memorandum. Doc. 112. The Defendants opposed. Doc. 114.

       First, as to Plaintiffs Caroline Marafao Cheng, Pushun Cheng, Changzhen Ni, Junfang

Yu, Meixiang Cheng, Fangshou Yu, and Changhua Ni, the Motions to Dismiss are DENIED AS

MOOT for the simple and obvious reason, ignored by these Plaintiffs, that no party has asserted

a counterclaim against them. Second, the Motions to Dismiss by ICT, Styller, and the Individual

Plaintiffs/Defendants are DENIED. The Motions disregard the applicable standard of review

and assume that the factual allegations set forth in the Second Amended Complaint are

incontestably established as a matter of law, among other reasons. See In re Loestrin 24 Fe

Antitrust Litigation, 814 F.3d 538, 549 (1st Cir. 2016) (In evaluating a motion to dismiss claims

in a complaint, a court “accept[s] as true all well-pled facts alleged in the complaint and draw[s]

all reasonable inferences in [the pleader’s] favor.”) (internal citations omitted). Plaintiffs may

renew their arguments in a motion for summary judgment filed at, but not before, the time the

Court establishes for the filing of summary judgment motions in this case.

       Accordingly, the Motions to Dismiss (Docs. 109, 110, and 111) are DENIED.



                                                      SO ORDERED.

                                                       /s/ Leo T. Sorokin
                                                      Leo T. Sorokin
                                                      United States District Judge




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